                                                                                                                                                 6/30/23 9:43AM




Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF TENNESSEE

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Sherman Arulappan LLC

2.   All other names debtor
     used in the last 8 years
                                  DBA E-Commerce Trade
     Include any assumed          DBA Trios Distribution
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1307 WESTLAWN BLVD, UNIT 313
                                  Murfreesboro, TN 37129
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Rutherford                                                      Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  651 HEAL QUAKER
                                                                                                  SUITE G Lewisburg, TN 37091
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Sherman Arulappan LLC                                                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




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Debtor    Sherman Arulappan LLC                                                                           Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
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Debtor   Sherman Arulappan LLC                                                     Case number (if known)
         Name

                            $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                            $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                            $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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Debtor    Sherman Arulappan LLC                                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 30, 2023
                                                  MM / DD / YYYY


                             X   /s/ MARTINA SHERMAN                                                      MARTINA SHERMAN
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO




18. Signature of attorney    X   /s/ Steven L. Lefkovitz                                                   Date June 30, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Steven L. Lefkovitz 5953
                                 Printed name

                                 LEFKOVITZ & LEFKOVITZ
                                 Firm name

                                 908 HARPETH VALLEY PLACE
                                 NASHVILLE, TN 37221
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     615-256-8300                  Email address      slefkovitz@lefkovitz.com

                                 5953 TN
                                 Bar number and State




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Fill in this information to identify the case:

Debtor name         Sherman Arulappan LLC

United States Bankruptcy Court for the:     MIDDLE DISTRICT OF TENNESSEE

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       June 30, 2023                   X /s/ MARTINA SHERMAN
                                                           Signature of individual signing on behalf of debtor

                                                            MARTINA SHERMAN
                                                            Printed name

                                                            CEO
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




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 Fill in this information to identify the case:

 Debtor name            Sherman Arulappan LLC

 United States Bankruptcy Court for the:                       MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           485,389.05

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           485,389.05


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $              9,291.22

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        7,438,955.02


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           7,448,246.24




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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Fill in this information to identify the case:

Debtor name         Sherman Arulappan LLC

United States Bankruptcy Court for the:     MIDDLE DISTRICT OF TENNESSEE

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     BANK OF AMERICA                                   CHECKING                              9912                                             $0.79




          3.2.     BANK OF AMERICA                                   CHECKING                              6067                                       $636.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                        $636.79
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.

11.       Accounts receivable

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1


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Debtor       Sherman Arulappan LLC                                                          Case number (If known)
             Name


          11a. 90 days old or less:                    92,035.49       -                             52,035.49 = ....                  $40,000.00
                                      face amount                             doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                         $40,000.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last              Net book value of         Valuation method used   Current value of
                                             physical inventory            debtor's interest         for current value       debtor's interest
                                                                           (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale
          13002 - Inventory - FBA
          In TransiT $36,618.83
          13006 - Inventory -
          Lewisburg $270,125.33
          13009 - Inventory - FBA
          $102,099.10                                                                     $0.00                                       $408,843.26



22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                        $408,843.26
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                              Valuation method                                Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                         page 2

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Debtor        Sherman Arulappan LLC                                                     Case number (If known)
              Name




Part 7:       Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

           General description                                        Net book value of         Valuation method used   Current value of
           Include year, make, model, and identification numbers      debtor's interest         for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                              (Where available)

47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Laptops (8) $2,400.00 , Racking (7) $18,809.00,
           Forklift (1) $4,500.00, Docking Stations (10)
           $1,200.00, Assorted office supplies (10)
           $900.00, Large Office Desks (3) $2,400.00,
           Small office desks (2) $200.00, Printers (5)
           $500.00, Wrapper ($4,000), Scale ($1000)                                   $0.00                                       $35,909.00




51.        Total of Part 8.                                                                                                   $35,909.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                    page 3

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Debtor        Sherman Arulappan LLC                                                        Case number (If known)
              Name



           General description                                          Net book value of          Valuation method used   Current value of
                                                                        debtor's interest          for current value       debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets
           TRADEMARK FOR THE NAME KAURI                                                  $0.00                                              $0.00



61.        Internet domain names and websites
           ECOMMERCETRADE.COM
           BOLDHOME.COM                                                                  $0.00                                              $0.00



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                             $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 4

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Debtor          Sherman Arulappan LLC                                                                               Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                 $636.79

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                     $40,000.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                             $408,843.26

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $35,909.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $485,389.05           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $485,389.05




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                           page 5

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Fill in this information to identify the case:

Debtor name       Sherman Arulappan LLC

United States Bankruptcy Court for the:       MIDDLE DISTRICT OF TENNESSEE

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.




Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                           page 1 of 1


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Fill in this information to identify the case:

Debtor name        Sherman Arulappan LLC

United States Bankruptcy Court for the:         MIDDLE DISTRICT OF TENNESSEE

Case number (if known)
                                                                                                                                                      Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                        Total claim            Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $9,291.22     $9,291.22
          TENNESSEE DEPARTMENT OF                              Check all that apply.
          REVENUE                                                 Contingent
          500 DEADERICK STREET                                    Unliquidated
          ANDREW JACKSON STATE                                    Disputed
          OFFICE BUILDING
          Nashville, TN 37242
          Date or dates debt was incurred                      Basis for the claim:


          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $693.77
          AHS Lighting                                                           Contingent
          PO Box 254                                                             Unliquidated
          Lapaz, IN 46537                                                        Disputed
          Date(s) debt was incurred   1/7/2021                               Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?           No   Yes

3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $96,854.54
          Alchemade                                                              Contingent
          6555 SW 110th Ct                                                       Unliquidated
          Beaverton, OR 97008                                                    Disputed
          Date(s) debt was incurred   1/7/2021                               Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?           No   Yes




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Debtor      Sherman Arulappan LLC                                                           Case number (if known)
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3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,000.00
         AMERICAN EXPRESS                                             Contingent
         PO BOX 6031                                                  Unliquidated
         Carol Stream, IL 60197                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $193.48
         ANP LIGHTING, INC.                                           Contingent
         9044 Del Mar Ave.                                            Unliquidated
         Montclair, CA 91763                                          Disputed
         Date(s) debt was incurred   1/7/2021                      Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,036.70
         AT & T                                                       Contingent
         PO BOx 5019                                                  Unliquidated
         Carol Stream, IL 60197-5019                                  Disputed
         Date(s) debt was incurred 1/7/2021
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,800.00
         Be On                                                        Contingent
         6413 Congress Ave                                            Unliquidated
         Boca Raton, FL 33487                                         Disputed
         Date(s) debt was incurred 1/7/2021
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,388.70
         BEST QUALITY LIGHTING HD ONLY                                Contingent
         4750 CALLE CARGA                                             Unliquidated
         CAMARILLO, CA 93012                                          Disputed
         Date(s) debt was incurred 1/7/2021
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,134.70
         CAL LIGHTING                                                 Contingent
         3625 E PHILADELPHIA ST                                       Unliquidated
         ONTARIO, CA 91761                                            Disputed
         Date(s) debt was incurred 1/7/2021
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,357.35
         CANTRIO KONCEPTS                                             Contingent
         215 Drumlin Circle                                           Unliquidated
         Concord, ON L4K 3E4                                          Disputed
         Date(s) debt was incurred 1/7/2021
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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            Name

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,900.00
         CAPITAL ONE                                                  Contingent
         PO BOX 71087                                                 Unliquidated
         Charlotte, NC 28272                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,000.00
         CAPITAL ONE                                                  Contingent
         PO BOX 71087                                                 Unliquidated
         Charlotte, NC 28272                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,200.00
         CAPITAL ONE                                                  Contingent
         PO BOX 71087                                                 Unliquidated
         Charlotte, NC 28272                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,304.00
         CAPITAL ONE                                                  Contingent
         PO BOX 71087                                                 Unliquidated
         Charlotte, NC 28272                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $282.00
         COMMERCE HUB                                                 Contingent
         25736 Network Place                                          Unliquidated
         Chicago, IL 60673-1257                                       Disputed
         Date(s) debt was incurred 1/7/2021
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,149.02
         COYOTE LOGISTICS                                             Contingent
         Coyote Logistics LLC PO Box 742636                           Unliquidated
         Atlanta, GA 30374                                            Disputed
         Date(s) debt was incurred 1/7/2021
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,700.00
         CREDIT ONE BANK                                              Contingent
         PO BOX 98873                                                 Unliquidated
         Las Vegas, NV 89193                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,400.00
         CREDIT ONE BANK                                              Contingent
         PO BOX 98873                                                 Unliquidated
         Las Vegas, NV 89193                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,700.00
         CREDIT ONE BANK                                              Contingent
         PO BOX 98873                                                 Unliquidated
         Las Vegas, NV 89193                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,196.42
         Deerport Decor                                               Contingent
         661 brea canyon Road                                         Unliquidated
         Unit 3                                                       Disputed
         walnut, CA 91789
                                                                   Basis for the claim:
         Date(s) debt was incurred 1/7/2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,000.00
         DISCOVER CARD                                                Contingent
         PO BOX 6103                                                  Unliquidated
         Carol Stream, IL 60197                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,000.00
         DISCOVER CARD                                                Contingent
         PO BOX 6103                                                  Unliquidated
         Carol Stream, IL 60197                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $99,608.62
         DMS Properties LLC                                           Contingent
         1040 Natchez Valley Lane                                     Unliquidated
         Franklin, TN 37064                                           Disputed
         Date(s) debt was incurred 1/7/2021
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,447.40
         Duane Morris LLP                                             Contingent
         PO Box 787166                                                Unliquidated
         Philadelphia, PA 19178                                       Disputed
         Date(s) debt was incurred 5/23/2022
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $102.06
         DVI LIGHTING                                                 Contingent
         120 Great Gulf Drive                                         Unliquidated
         Concord, ON L4K5W1                                           Disputed
         Date(s) debt was incurred 1/7/2021
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $1,000,000.00
         E-commerce Trade LLC                                         Contingent
         5129 watermead ln                                            Unliquidated
         belmont, NC 28012                                            Disputed
         Date(s) debt was incurred 4/23/2021
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $740.00
         Embr Labs, Inc                                               Contingent
         24 Roland St                                                 Unliquidated
         102                                                          Disputed
         Boston, MA 02129
                                                                   Basis for the claim:
         Date(s) debt was incurred   5/16/2022
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $209,519.04
         FED EX GROUND/EXPRESS                                        Contingent
         P.O. Box 1140                                                Unliquidated
         Memphis, TN 38101-1140                                       Disputed
         Date(s) debt was incurred 1/7/2021
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,000.00
         Fernando Fernandez Designs                                   Contingent
         3813 Wild Rose Ln                                            Unliquidated
         Stockton, CA 95206                                           Disputed
         Date(s) debt was incurred 3/27/2023
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,587.43
         FFSW Global                                                  Contingent
         795 Commerce Dr. Suite 4                                     Unliquidated
         Venice, FL 34292                                             Disputed
         Date(s) debt was incurred 1/7/2021
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,810.88
         Focus Industries, Inc.                                       Contingent
         FOCUS INDUSTRIES, INC.                                       Unliquidated
         FILE 50658                                                   Disputed
         LOS ANGELES, CA 90074-0658
                                                                   Basis for the claim:
         Date(s) debt was incurred 1/7/2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $27,008.25
         FORTE LIGHTING E COMMERCE ONLY                               Contingent
         14780 Bar Harbor Rd. Bldg A                                  Unliquidated
         Fontana, CA 92336                                            Disputed
         Date(s) debt was incurred 1/7/2021
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $2,894,707.97
         FOUNTAIN HEAD SBF, LLC                                       Contingent
         3216 WEST LAKE MARY BLVD                                     Unliquidated
         Lake Mary, FL 32746                                          Disputed
         Date(s) debt was incurred 1/7/2021
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $9,789.84
         GALAXY LIGHTING ECOM ONLY                                    Contingent
         EXCEL LIGHTING & MFG. LTD                                    Unliquidated
         13611 MAYCREST WAY                                           Disputed
         RICHMOND, BC V6V 2J4
                                                                   Basis for the claim:
         Date(s) debt was incurred 1/7/2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,348.60
         Golfs Past                                                   Contingent
         305 West Lowe Ave,                                           Unliquidated
         Suite 100                                                    Disputed
         Fairfield, IA 52556
                                                                   Basis for the claim:
         Date(s) debt was incurred   1/7/2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,364.32
         GRILLING FOIL                                                Contingent
         7473 west Lakemead Blvd                                      Unliquidated
         Las Vegas, NV 89128                                          Disputed
         Date(s) debt was incurred 1/11/2021
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $60,000.00
         Headway Capital                                              Contingent
         175 W. Jackson Blvd                                          Unliquidated
         1000                                                         Disputed
         CHICAGO, IL 60604
                                                                   Basis for the claim:
         Date(s) debt was incurred   6/17/2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $900.00
         Helping Hand                                                 Contingent
         2104 Baxter CT                                               Unliquidated
         Florence, SC 29505                                           Disputed
         Date(s) debt was incurred   11/2/2021                     Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Sherman Arulappan LLC                                                           Case number (if known)
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3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,073.03
         Humana Insurance Company                                     Contingent
         PO Box 9024                                                  Unliquidated
         Milwaukee, WI 53201-3024                                     Disputed
         Date(s) debt was incurred 1/7/2021
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $30.82
         IMAX CORPORATION                                             Contingent
         PO BOX472188                                                 Unliquidated
         Tulsa, OK 74147                                              Disputed
         Date(s) debt was incurred 1/7/2021
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $360.00
         inShield Wiper, LLC                                          Contingent
         PO Box 235523                                                Unliquidated
         Encinitas, CA 92023                                          Disputed
         Date(s) debt was incurred   7/29/2022                     Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,068.00
         iVault                                                       Contingent
         PO box 1073                                                  Unliquidated
         Stockbridge, GA 30281                                        Disputed
         Date(s) debt was incurred 1/7/2021
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,243.00
         Jelly Jar Genius, LLC                                        Contingent
         78365 Hwy 111 Suite 297                                      Unliquidated
         La Quinta, CA 92253                                          Disputed
         Date(s) debt was incurred 1/7/2021
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $297.58
         JUSTICE DESIGN GROUP                                         Contingent
         Justice Design 500 S. Grand Avenue                           Unliquidated
         Los Angeles, CA 90072                                        Disputed
         Date(s) debt was incurred 1/7/2021
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $392.70
         KENDALL LIGHTING                                             Contingent
         110 6780 Dennett Place                                       Unliquidated
         DELTA, BC V4G1N4                                             Disputed
         Date(s) debt was incurred 1/7/2021
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Sherman Arulappan LLC                                                           Case number (if known)
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3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,007.72
         Lean Joe Bean                                                Contingent
         11640 Mayfield Ave                                           Unliquidated
         No.610                                                       Disputed
         Los Angeles, CA 90049
                                                                   Basis for the claim:
         Date(s) debt was incurred 1/7/2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $12,174.15
         Leon Boots CO
         UNIT 2, DAMASTOWN IND. EST.,                                 Contingent
         DAMASTOWN W                                                  Unliquidated
         DAMASTOWN                                                    Disputed
         DUBLIN D15 PNN4
                                                                   Basis for the claim:
         Date(s) debt was incurred 1/7/2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $201,018.23
         Libertas Funding                                             Contingent
         411 Putnam ave                                               Unliquidated
         Suite 220                                                    Disputed
         Greenwhich, CT 06830
                                                                   Basis for the claim:
         Date(s) debt was incurred 1/7/2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $150,000.00
         Libertas Funding                                             Contingent
         411 Putnam ave                                               Unliquidated
         Suite 220                                                    Disputed
         Greenwhich, CT 06830
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $51,000.00
         LIBERTAS FUNDING LLC                                         Contingent
         411 W PUTNAM AVE                                             Unliquidated
         SUITE 220                                                    Disputed
         Greenwich, CT 06830
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,850.00
         Lightscape Decorative Lighting LLC                           Contingent
         27 Green Acres Rd.                                           Unliquidated
         Washington, IN 47501                                         Disputed
         Date(s) debt was incurred 7/5/2022
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $154.30
         Magic Brush                                                  Contingent
         Unit 2 Damastown Walk                                        Unliquidated
         DUBLIN D15 PNN4                                              Disputed
         Date(s) debt was incurred 1/7/2021
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 8 of 13



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Debtor      Sherman Arulappan LLC                                                           Case number (if known)
            Name

3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $704.00
         Maximm Cable                                                 Contingent
         135 ROUTE 59                                                 Unliquidated
         Spring Valley, NY 10977                                      Disputed
         Date(s) debt was incurred 6/1/2022
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,020.50
         Nanotech Surface Solutions                                   Contingent
         8101 Cameron Rd. Ste. 309                                    Unliquidated
         Austin, TX 78752                                             Disputed
         Date(s) debt was incurred 10/14/2021
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,320.00
         NATO Sporty LLC                                              Contingent
         3945 Greenbriar Dr.                                          Unliquidated
         #A7                                                          Disputed
         Stafford, TX 77477
                                                                   Basis for the claim:
         Date(s) debt was incurred   1/10/2022
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,396.50
         No Knot Necklace Carrier                                     Contingent
         PO Box 332                                                   Unliquidated
         Allenwood, NJ 08720                                          Disputed
         Date(s) debt was incurred 1/7/2021
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $28,376.27
         NRS                                                          Contingent
         1638 S Blaine ST                                             Unliquidated
         Moscow, ID 83843                                             Disputed
         Date(s) debt was incurred   1/7/2021                      Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $329.76
         On Topz                                                      Contingent
         257 Ely Ave, UnitH                                           Unliquidated
         Norwalk, CT 68854                                            Disputed
         Date(s) debt was incurred   1/20/2021                     Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,043.62
         PAYPAL CREDIT                                                Contingent
         PO BOX 71707                                                 Unliquidated
         Philadelphia, PA 19176                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Sherman Arulappan LLC                                                           Case number (if known)
            Name

3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,902.73
         PHONE FLIPPER                                                Contingent
         Phone Flipper 206 Star of India LN                           Unliquidated
         Carson, CA 90746                                             Disputed
         Date(s) debt was incurred 1/7/2021
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $6.18
         PillowPak                                                    Contingent
         531 US Hwy 22 East                                           Unliquidated
         Unit 214                                                     Disputed
         Whitehouse Station, NJ 08889
                                                                   Basis for the claim:
         Date(s) debt was incurred 9/15/2022
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,345.92
         PLC Lighting                                                 Contingent
         PLC Lighting 9667 Owensmouth Ave.                            Unliquidated
         CHATSWORTH, CA 91311                                         Disputed
         Date(s) debt was incurred 1/7/2021
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,639.28
         Renwil (HD Ecomm)                                            Contingent
         9181 Boivin                                                  Unliquidated
         Lasalle, QC H8R 2E8                                          Disputed
         Date(s) debt was incurred   1/7/2021                      Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,149.59
         ResourceMFG                                                  Contingent
         PO Box 102332                                                Unliquidated
         Atlanta, GA 30368-2332                                       Disputed
         Date(s) debt was incurred 1/7/2021
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2.55
         RGR Medical Sdt                                              Contingent
         11807 Allisonville Rd                                        Unliquidated
         137                                                          Disputed
         Fishers, IN 46038
                                                                   Basis for the claim:
         Date(s) debt was incurred   8/8/2022
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $655.94
         ROSELLI                                                      Contingent
         ROSELLI 237 SOUTH BALDHILL ROAD                              Unliquidated
         NEW CAYNAN, CT 06840                                         Disputed
         Date(s) debt was incurred 1/7/2021
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Sherman Arulappan LLC                                                           Case number (if known)
            Name

3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,520.00
         S Light                                                      Contingent
         A-1104                                                       Unliquidated
         32 Digital-ro,9 GIl, Geungchum-gu                            Disputed
         Seoul 08512
                                                                   Basis for the claim:
         Date(s) debt was incurred 1/13/2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $1,160,813.22
         SATCO PRODUCTS, INC.                                         Contingent
         31288 SAN BENITO                                             Unliquidated
         HAYWARD, CA 94544                                            Disputed
         Date(s) debt was incurred 1/7/2021
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $322,737.12
         SAVOY HOUSE                                                  Contingent
         P.O. BOX 935107                                              Unliquidated
         ALTANTA, GA 31193                                            Disputed
         Date(s) debt was incurred   1/7/2021                      Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,871.45
         SnapPot Planters                                             Contingent
         248 Deer Track Lane                                          Unliquidated
         Rutherfordton, NC 28139                                      Disputed
         Date(s) debt was incurred 1/13/2023
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,488.75
         StrapCap LLC                                                 Contingent
         56 Siasconset Dr                                             Unliquidated
         Sagamore Beach, MA 02562                                     Disputed
         Date(s) debt was incurred 3/3/2022
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $266.00
         Stress Free Fun LLC Fuuties                                  Contingent
         115 Hollingwood Drive                                        Unliquidated
         Columbia, SC 21223                                           Disputed
         Date(s) debt was incurred 1/7/2021
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $588.00
         Sustainable Resources Group, LLC                             Contingent
         132 Veterans Lane Unit A                                     Unliquidated
         PMB 456                                                      Disputed
         Doylestown, PA 18901
                                                                   Basis for the claim:
         Date(s) debt was incurred 2/15/2022
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 11 of 13



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Debtor      Sherman Arulappan LLC                                                           Case number (if known)
            Name

3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,010.00
         SYNCHRONY BANK/AMAZON                                        Contingent
         PO BOX 71711                                                 Unliquidated
         Philadelphia, PA 19176                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,000.39
         The Ardshon Group Grill Armory                               Contingent
         4344 Philips Hwy                                             Unliquidated
         Jacksonville, FL 32207                                       Disputed
         Date(s) debt was incurred 1/7/2021
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $12,338.76
         Toltec                                                       Contingent
         P.O. Box 325                                                 Unliquidated
         Burnsville, MS 38833                                         Disputed
         Date(s) debt was incurred   1/7/2021                      Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $12,000.00
         TOMO CREDIT                                                  Contingent
         535 MISSION ST                                               Unliquidated
         San Francisco, CA 94105                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $33,129.32
         TUHOME FURNITURE LLC                                         Contingent
         10660 NW 25th St                                             Unliquidated
         Suite 103                                                    Disputed
         Doral, FL 33172
                                                                   Basis for the claim:
         Date(s) debt was incurred 1/7/2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $281,000.00
         White Field Captial LLC                                      Contingent
         3012 Ainsley Lane                                            Unliquidated
         Belmont, NC 28012                                            Disputed
         Date(s) debt was incurred 2/16/2021
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $11,338.90
         Wishpets                                                     Contingent
         6555 SW 110th CT                                             Unliquidated
         Beaverton, OR 97008                                          Disputed
         Date(s) debt was incurred   1/7/2021                      Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor       Sherman Arulappan LLC                                                                  Case number (if known)
             Name

3.80      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $538,000.00
          Z- Lite HD                                                           Contingent
          85 South Edgeware Road, Unit #1
                                                                               Unliquidated
          St. Thomas,, ON N5P2H7
                                                                               Disputed
          Date(s) debt was incurred 1/7/2021
          Last 4 digits of account number                                  Basis for the claim:

                                                                           Is the claim subject to offset?       No     Yes

3.81      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $65,065.65
          ZIPKORD LLC                                                         Contingent
          Zipkord 3307 Clark Road                                             Unliquidated
          Suite 101                                                           Disputed
          Sarasota, FL 34231
                                                                           Basis for the claim:
          Date(s) debt was incurred 1/7/2021
          Last 4 digits of account number                                  Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                        9,291.22
5b. Total claims from Part 2                                                                           5b.   +    $                    7,438,955.02

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                        7,448,246.24




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Fill in this information to identify the case:

Debtor name       Sherman Arulappan LLC

United States Bankruptcy Court for the:     MIDDLE DISTRICT OF TENNESSEE

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            COMMERCIAL LEASE
           lease is for and the nature of
           the debtor's interest

               State the term remaining          EXPIRES IN 2028
                                                                                    DMS Properties LLC
           List the contract number of any                                          1040 Natchez Valley Lane
                 government contract                                                Franklin, TN 37064




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1


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Fill in this information to identify the case:

Debtor name      Sherman Arulappan LLC

United States Bankruptcy Court for the:   MIDDLE DISTRICT OF TENNESSEE

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    MARTINA                     1307 WESTLAWN BLVD, UNIT 313                              AMERICAN                           D
          SHERMAN                     Murfreesboro, TN 37128                                    EXPRESS                            E/F       3.3
                                                                                                                                   G




   2.2    MARTINA                     1307 WESTLAWN BLVD, UNIT 313                              CAPITAL ONE                        D
          SHERMAN                     Murfreesboro, TN 37128                                                                       E/F       3.10
                                                                                                                                   G




   2.3    MARTINA                     1307 WESTLAWN BLVD, UNIT 313                              CAPITAL ONE                        D
          SHERMAN                     Murfreesboro, TN 37128                                                                       E/F       3.11
                                                                                                                                   G




   2.4    MARTINA                     1307 WESTLAWN BLVD, UNIT 313                              CAPITAL ONE                        D
          SHERMAN                     Murfreesboro, TN 37128                                                                       E/F       3.12
                                                                                                                                   G




   2.5    MARTINA                     1307 WESTLAWN BLVD, UNIT 313                              CREDIT ONE BANK                    D
          SHERMAN                     Murfreesboro, TN 37128                                                                       E/F       3.16
                                                                                                                                   G




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Debtor    Sherman Arulappan LLC                                                   Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.6     MARTINA                  1307 WESTLAWN BLVD, UNIT 313                        CREDIT ONE BANK                    D
          SHERMAN                  Murfreesboro, TN 37128                                                                 E/F   3.17
                                                                                                                          G




  2.7     MARTINA                  1307 WESTLAWN BLVD, UNIT 313                        DISCOVER CARD                      D
          SHERMAN                  Murfreesboro, TN 37128                                                                 E/F   3.20
                                                                                                                          G




  2.8     MARTINA                  1307 WESTLAWN BLVD, UNIT 313                        DISCOVER CARD                      D
          SHERMAN                  Murfreesboro, TN 37128                                                                 E/F   3.21
                                                                                                                          G




  2.9     MARTINA                  1307 WESTLAWN BLVD, UNIT 313                        DMS Properties LLC                 D
          SHERMAN                  Murfreesboro, TN 37128                                                                 E/F   3.22
                                                                                                                          G




  2.10    MARTINA                  1307 WESTLAWN BLVD, UNIT 313                        E-commerce Trade                   D
          SHERMAN                  Murfreesboro, TN 37128                              LLC                                E/F   3.25
                                                                                                                          G




  2.11    MARTINA                  1307 WESTLAWN BLVD, UNIT 313                        FOUNTAIN HEAD                      D
          SHERMAN                  Murfreesboro, TN 37128                              SBF, LLC                           E/F   3.32
                                                                                                                          G




  2.12    MARTINA                  1307 WESTLAWN BLVD, UNIT 313                        Headway Capital                    D
          SHERMAN                  Murfreesboro, TN 37128                                                                 E/F   3.36
                                                                                                                          G




  2.13    MARTINA                  1307 WESTLAWN BLVD, UNIT 313                        Libertas Funding                   D
          SHERMAN                  Murfreesboro, TN 37128                                                                 E/F   3.47
                                                                                                                          G




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Debtor    Sherman Arulappan LLC                                                   Case number (if known)


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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.14    MARTINA                  1307 WESTLAWN BLVD, UNIT 313                        Libertas Funding                   D
          SHERMAN                  Murfreesboro, TN 37128                                                                 E/F   3.48
                                                                                                                          G




  2.15    MARTINA                  1307 WESTLAWN BLVD, UNIT 313                        LIBERTAS FUNDING                   D
          SHERMAN                  Murfreesboro, TN 37128                              LLC                                E/F   3.49
                                                                                                                          G




  2.16    MARTINA                  1307 WESTLAWN BLVD, UNIT 313                        PAYPAL CREDIT                      D
          SHERMAN                  Murfreesboro, TN 37128                                                                 E/F   3.58
                                                                                                                          G




  2.17    MARTINA                  1307 WESTLAWN BLVD, UNIT 313                        SAVOY HOUSE                        D
          SHERMAN                  Murfreesboro, TN 37128                                                                 E/F   3.68
                                                                                                                          G




  2.18    MARTINA                  1307 WESTLAWN BLVD, UNIT 313                        TOMO CREDIT                        D
          SHERMAN                  Murfreesboro, TN 37128                                                                 E/F   3.76
                                                                                                                          G




  2.19    RAM KUMAR                1501C 9TH AVENUE NORTH                              DMS Properties LLC                 D
          ARULAPPAN                Nashville, TN 37208                                                                    E/F   3.22
                                                                                                                          G




  2.20    RAM KUMAR                1501C 9TH AVENUE NORTH                              E-commerce Trade                   D
          ARULAPPAN                Nashville, TN 37208                                 LLC                                E/F   3.25
                                                                                                                          G




  2.21    RAM KUMAR                1501C 9TH AVENUE NORTH                              FOUNTAIN HEAD                      D
          ARULAPPAN                Nashville, TN 37208                                 SBF, LLC                           E/F   3.32
                                                                                                                          G




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Debtor    Sherman Arulappan LLC                                                   Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.22    RAM KUMAR                1501C 9TH AVENUE NORTH                              Headway Capital                    D
          ARULAPPAN                Nashville, TN 37208                                                                    E/F   3.36
                                                                                                                          G




  2.23    RAM KUMAR                1501C 9TH AVENUE NORTH                              Libertas Funding                   D
          ARULAPPAN                Nashville, TN 37208                                                                    E/F   3.47
                                                                                                                          G




  2.24    RAM KUMAR                1501C 9TH AVENUE NORTH                              Libertas Funding                   D
          ARULAPPAN                Nashville, TN 37208                                                                    E/F   3.48
                                                                                                                          G




  2.25    RAM KUMAR                1501C 9TH AVENUE NORTH                              LIBERTAS FUNDING                   D
          ARULAPPAN                Nashville, TN 37208                                 LLC                                E/F   3.49
                                                                                                                          G




  2.26    RAM KUMAR                1501C 9TH AVENUE NORTH                              CAPITAL ONE                        D
          ARULAPPAN                Nashville, TN 37208                                                                    E/F   3.13
                                                                                                                          G




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Fill in this information to identify the case:

Debtor name         Sherman Arulappan LLC

United States Bankruptcy Court for the:    MIDDLE DISTRICT OF TENNESSEE

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                               $668,464.58
      From 1/01/2023 to Filing Date                                                                GROSS BUSINESS
                                                                                          Other    REVENUE


      For prior year:                                                                     Operating a business                             $5,102,197.56
      From 1/01/2022 to 12/31/2022                                                                 GROSS BUSINESS
                                                                                          Other    REVENUE


      For year before that:                                                               Operating a business                             $9,533,555.47
      From 1/01/2021 to 12/31/2021                                                                 GROSS BUSINESS
                                                                                          Other    REVENUE

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




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Debtor       Sherman Arulappan LLC                                                              Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
              CAPITAL ONE                                                                           $36,766.93                Secured debt
              PO BOX 71087                                                                                                    Unsecured loan repayments
              Charlotte, NC 28272
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other


      3.2.
              AMERICAN EXPRESS                                                                      $26,732.48                Secured debt
              PO BOX 6031                                                                                                     Unsecured loan repayments
              Carol Stream, IL 60197                                                                                          Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other


      3.3.
              DISCOVER CARD                                                                         $12,561.56                Secured debt
              PO BOX 6103                                                                                                     Unsecured loan repayments
              Carol Stream, IL 60197
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other


      3.4.
              DMS Properties LLC                                                                    $15,061.46                Secured debt
              1040 Natchez Valley Lane                                                                                        Unsecured loan repayments
              Franklin, TN 37064                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other


      3.5.
              Humana Insurance Company                                                                $7,418.43               Secured debt
              PO Box 9024                                                                                                     Unsecured loan repayments
              Milwaukee, WI 53201-3024                                                                                        Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

         None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.    RAM KUMAR ARULAPPAN                                  12/23/2022                       $10,000.00           REPAYMENT OF A LOAN IN
              1501C 9TH AVENUE NORTH                                                                                     DECEMBER. MONEY LOANED
              Nashville, TN 37208                                                                                        ON DECEMBER 1, 2022 & PAID
              MEMBER                                                                                                     BACK ON DECEMBER 23, 2022


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

         None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


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Debtor       Sherman Arulappan LLC                                                                Case number (if known)



6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case               Court or agency's name and               Status of case
              Case number                                                           address
      7.1.    PROGRESSIVE LIGHTING V.                  CIVIL                        NORTHERN DISTRICT OF                        Pending
              Debtor                                                                ATLANTA                                     On appeal
              1:22-cv-02951-MHC                                                                                                 Concluded

      7.2.    Z-LITE US INC. V. Debtor                 CIVIL                        CIRCUIT COURT OF TN                         Pending
              80846                                                                                                             On appeal
                                                                                                                                Concluded

      7.3.    UMBRA LLC V. Debtor                      CIVIL                                                                    Pending
              1:23-cv-00345                                                                                                     On appeal
                                                                                                                                Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address             Description of the gifts or contributions                  Dates given                            Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss             Value of property
      how the loss occurred                                                                                                                              lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:      Certain Payments or Transfers
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 3


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Debtor        Sherman Arulappan LLC                                                             Case number (if known)




11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received               If not money, describe any property transferred              Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    LEFKOVITZ & LEFKOVITZ
               908 HARPETH VALLEY
               PLACE                                      Attorney Fees - $5,000
               NASHVILLE, TN 37221                        Court Costs - $338                                                                      $5,338.00

               Email or website address
               slefkovitz@lefkovitz.com

               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                   Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                    Date transfer              Total amount or
              Address                                  payments received or debts paid in exchange               was made                            value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                             Dates of occupancy
                                                                                                                   From-To
      14.1.    2231 NW BROAD ST                                                                                    1/2021 TO 5/2023
               SUITE A
               Murfreesboro, TN 37128

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?




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           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None



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Debtor      Sherman Arulappan LLC                                                               Case number (if known)



      Owner's name and address                              Location of the property              Describe the property                                 Value
      Leon Boots CO                                         651 HEAL QUAKER AVE                   18 PALLETS OF INVENTORY                        $48,000.00
      UNIT 2, DAMASTOWN IND. EST.,                          SUITE G
      DAMASTOWN W                                           Lewisburg, TN 37091
      DAMASTOWN
      DUBLIN D15 PNN4

      Owner's name and address                              Location of the property              Describe the property                                 Value
      No Knot Necklace Carrier                              651 HEAL QUAKER AVE                   5 BOXES OF INVENTORY                             $6,000.00
      PO Box 332                                            SUITE G
      Allenwood, NJ 08720                                   Lewisburg, TN 37091

      Owner's name and address                              Location of the property              Describe the property                                 Value
      Sustainable Resources Group, LLC                      651 HEAL QUAKER AVE                   6 PALLETS OF INVENTORY                           $8,000.00
      132 Veterans Lane Unit A                              SUITE G
      PMB 456                                               Lewisburg, TN 37091
      Doylestown, PA 18901


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                        Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known           Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known           Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

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Debtor      Sherman Arulappan LLC                                                               Case number (if known)



   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        TRAVIS SHREEVE                                                                                                     IN THE LAST 2
                    1350 WEST 2600S                                                                                                    YEARS
                    Woods Cross, UT 84087

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                    % of interest, if
                                                                                                  interest                                      any
      MARTINA SHERMAN                         1307 WESTLAWN BLVD, UNIT 313                        CEO                                           50
                                              Murfreesboro, TN 37128

      Name                                    Address                                             Position and nature of any                    % of interest, if
                                                                                                  interest                                      any
      RAM KUMAR ARULAPPAN                     1501C 9TH AVENUE NORTH                              MEMBER                                        50
                                              Nashville, TN 37208



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.

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Debtor      Sherman Arulappan LLC                                                              Case number (if known)




30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 MARTINA SHERMAN
      .    1307 WESTLAWN BLVD, UNIT
             313                                                                                                SEMI-MONTH          SALARY FOR
             Murfreesboro, TN 37128                   SALARY - $83,000                                          LY                  WORK AS CEO

             Relationship to debtor
             CEO


      30.2 RAM KUMAR ARULAPPAN                                                                                                      WORK
      .    1501C 9TH AVENUE NORTH                                                                               6/30/22 -           PERFORMED FOR
             Nashville, TN 37208                      $11,028.89                                                9/30/22             BUSINESS

             Relationship to debtor
             MEMBER & DIRECTOR OF
             PURCHASING & SALES


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




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Debtor      Sherman Arulappan LLC                                                               Case number (if known)




Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         June 30, 2023

/s/ MARTINA SHERMAN                                             MARTINA SHERMAN
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 9


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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                             Middle District of Tennessee
 In re       Sherman Arulappan LLC                                                                            Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     5,000.00
             Prior to the filing of this statement I have received                                        $                     5,000.00
             Balance Due                                                                                  $                         0.00

2.    The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.    The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    [Other provisions as needed]
                 In addition to providing analysis of the debtor's financial situation, rendering advice, preparation and filing of
                 any petition, statements and schedules, and representation of the debtor at Meeting of Creditors, the fee includes
                 negotiation and preparation of reaffirmation agreements, and discussions with the Chapter 7 Trustee, debtor(s),
                 creditor(s), and parties-in-interest as necessary concerning the case

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Rule 2004 examinations, depositions, interrogatories, or other discovery proceedings;
              Adversary proceedings to determine the dischargeabilty of debt (11 USC §523);
              Adversary proceedings to deny discharge (11 USC §727); Complaints to avoid lien(s);
              Motions/Complaints after entry of the discharge and/or closing of the case; Amending Schedules D, E, & F after
              the filing of the bankruptcy case; Other adversarial litigation. Conversion to another Bankruptcy Chapter under
              the Bankruptcy Code
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     June 30, 2023                                                            /s/ Steven L. Lefkovitz
     Date                                                                     Steven L. Lefkovitz 5953
                                                                              Signature of Attorney
                                                                              LEFKOVITZ & LEFKOVITZ
                                                                              908 HARPETH VALLEY PLACE
                                                                              NASHVILLE, TN 37221
                                                                              615-256-8300 Fax: 615-255-4516
                                                                              slefkovitz@lefkovitz.com
                                                                              Name of law firm




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                                               United States Bankruptcy Court
                                                     Middle District of Tennessee
 In re   Sherman Arulappan LLC                                                                   Case No.
                                                                     Debtor(s)                   Chapter      7




                                   VERIFICATION OF CREDITOR MATRIX


I, the CEO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




Date:     June 30, 2023                                  /s/ MARTINA SHERMAN
                                                         MARTINA SHERMAN/CEO
                                                         Signer/Title




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SHERMAN ARULAPPAN LLC                  CANTRIO KONCEPTS                 E-COMMERCE TRADE LLC
1307 WESTLAWN BLVD, UNIT 313           215 DRUMLIN CIRCLE               5129 WATERMEAD LN
MURFREESBORO TN 37129                  CONCORD, ON L4K 3E4              BELMONT NC 28012

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STEVEN L. LEFKOVITZ                    CAPITAL ONE                      EMBR LABS, INC
LEFKOVITZ & LEFKOVITZ                  PO BOX 71087                     24 ROLAND ST
908 HARPETH VALLEY PLACE               CHARLOTTE NC 28272               102
NASHVILLE, TN 37221                                                     BOSTON MA 02129


AHS LIGHTING                           COMMERCE HUB                     FED EX GROUND/EXPRESS
PO BOX 254                             25736 NETWORK PLACE              P.O. BOX 1140
LAPAZ IN 46537                         CHICAGO IL 60673-1257            MEMPHIS TN 38101-1140




ALCHEMADE                              COYOTE LOGISTICS                  FERNANDO FERNANDEZ DESIGN
6555 SW 110TH CT                       COYOTE LOGISTICS LLC PO BOX 7426363813 WILD ROSE LN
BEAVERTON OR 97008                     ATLANTA GA 30374                  STOCKTON CA 95206




AMERICAN EXPRESS                       CREDIT ONE BANK                  FFSW GLOBAL
PO BOX 6031                            PO BOX 98873                     795 COMMERCE DR. SUITE 4
CAROL STREAM IL 60197                  LAS VEGAS NV 89193               VENICE FL 34292




ANP LIGHTING, INC.                     DEERPORT DECOR                   FOCUS INDUSTRIES, INC.
9044 DEL MAR AVE.                      661 BREA CANYON ROAD             FOCUS INDUSTRIES, INC.
MONTCLAIR CA 91763                     UNIT 3                           FILE 50658
                                       WALNUT CA 91789                  LOS ANGELES CA 90074-0658


AT & T                                 DISCOVER CARD                    FORTE LIGHTING E COMMERCEO
PO BOX 5019                            PO BOX 6103                      14780 BAR HARBOR RD. BLDG A
CAROL STREAM IL 60197-5019             CAROL STREAM IL 60197            FONTANA CA 92336




BE ON                                  DMS PROPERTIES LLC               FOUNTAIN HEAD SBF, LLC
6413 CONGRESS AVE                      1040 NATCHEZ VALLEY LANE         3216 WEST LAKE MARY BLVD
BOCA RATON FL 33487                    FRANKLIN TN 37064                LAKE MARY FL 32746




BEST QUALITY LIGHTING HD ONLY          DUANE MORRIS LLP                 GALAXY LIGHTING ECOM ONLY
4750 CALLE CARGA                       PO BOX 787166                    EXCEL LIGHTING & MFG. LTD
CAMARILLO CA 93012                     PHILADELPHIA PA 19178            13611 MAYCREST WAY
                                                                        RICHMOND, BC V6V 2J4


CAL LIGHTING                           DVI LIGHTING                     GOLFS PAST
3625 E PHILADELPHIA ST                 120 GREAT GULF DRIVE             305 WEST LOWE AVE,
ONTARIO CA 91761                       CONCORD, ON L4K5W1               SUITE 100
                                                                        FAIRFIELD IA 52556


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GRILLING FOIL                        LEAN JOE BEAN                     NO KNOT NECKLACE CARRIER
7473 WEST LAKEMEAD BLVD              11640 MAYFIELD AVE                PO BOX 332
LAS VEGAS NV 89128                   NO.610                            ALLENWOOD NJ 08720
                                     LOS ANGELES CA 90049


HEADWAY CAPITAL                      LEON BOOTS CO                     NRS
175 W. JACKSON BLVD                  UNIT 2, DAMASTOWN IND. EST., DAMASTOWN
                                                                       1638 S W
                                                                              BLAINE ST
1000                                 DAMASTOWN                         MOSCOW ID 83843
CHICAGO IL 60604                     DUBLIN D15 PNN4


HELPING HAND                         LIBERTAS FUNDING                  ON TOPZ
2104 BAXTER CT                       411 PUTNAM AVE                    257 ELY AVE, UNITH
FLORENCE SC 29505                    SUITE 220                         NORWALK CT 68854
                                     GREENWHICH CT 06830


HUMANA INSURANCE COMPANY             LIBERTAS FUNDING LLC              PAYPAL CREDIT
PO BOX 9024                          411 W PUTNAM AVE                  PO BOX 71707
MILWAUKEE WI 53201-3024              SUITE 220                         PHILADELPHIA PA 19176
                                     GREENWICH CT 06830


IMAX CORPORATION                     LIGHTSCAPE DECORATIVE LIGHTING LLC
                                                                     PHONE FLIPPER
PO BOX472188                         27 GREEN ACRES RD.              PHONE FLIPPER 206 STAR OF INLN
TULSA OK 74147                       WASHINGTON IN 47501             CARSON CA 90746




INSHIELD WIPER, LLC                  MAGIC BRUSH                       PILLOWPAK
PO BOX 235523                        UNIT 2 DAMASTOWN WALK             531 US HWY 22 EAST
ENCINITAS CA 92023                   DUBLIN D15 PNN4                   UNIT 214
                                                                       WHITEHOUSE STATION NJ 08889


IVAULT                               MARTINA SHERMAN                   PLC LIGHTING
PO BOX 1073                          1307 WESTLAWN BLVD, UNIT 313      PLC LIGHTING 9667 OWENSMOUTA
STOCKBRIDGE GA 30281                 MURFREESBORO TN 37128             CHATSWORTH CA 91311




JELLY JAR GENIUS, LLC                MAXIMM CABLE                      RAM KUMAR ARULAPPAN
78365 HWY 111 SUITE 297              135 ROUTE 59                      1501C 9TH AVENUE NORTH
LA QUINTA CA 92253                   SPRING VALLEY NY 10977            NASHVILLE TN 37208




JUSTICE DESIGN GROUP             NANOTECH SURFACE SOLUTIONS            RENWIL (HD ECOMM)
JUSTICE DESIGN 500 S. GRAND AVENUE
                                 8101 CAMERON RD. STE. 309             9181 BOIVIN
LOS ANGELES CA 90072             AUSTIN TX 78752                       LASALLE, QC H8R 2E8




KENDALL LIGHTING                     NATO SPORTY LLC                   RESOURCEMFG
110 6780 DENNETT PLACE               3945 GREENBRIAR DR.               PO BOX 102332
DELTA, BC V4G1N4                     #A7                               ATLANTA GA 30368-2332
                                     STAFFORD TX 77477


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RGR MEDICAL SDT                      TENNESSEE DEPARTMENT OF REVENUE
11807 ALLISONVILLE RD                500 DEADERICK STREET
137                                  ANDREW JACKSON STATE OFFICE BUILDING
FISHERS IN 46038                     NASHVILLE TN 37242


ROSELLI                              THE ARDSHON GROUP GRILL ARMORY
ROSELLI 237 SOUTH BALDHILL ROAD      4344 PHILIPS HWY
NEW CAYNAN CT 06840                  JACKSONVILLE FL 32207




S LIGHT                           TOLTEC
A-1104                            P.O. BOX 325
32 DIGITAL-RO,9 GIL, GEUNGCHUM-GU BURNSVILLE MS 38833
SEOUL 08512


SATCO PRODUCTS, INC.                 TOMO CREDIT
31288 SAN BENITO                     535 MISSION ST
HAYWARD CA 94544                     SAN FRANCISCO CA 94105




SAVOY HOUSE                          TUHOME FURNITURE LLC
P.O. BOX 935107                      10660 NW 25TH ST
ALTANTA GA 31193                     SUITE 103
                                     DORAL FL 33172


SNAPPOT PLANTERS                     WHITE FIELD CAPTIAL LLC
248 DEER TRACK LANE                  3012 AINSLEY LANE
RUTHERFORDTON NC 28139               BELMONT NC 28012




STRAPCAP LLC                         WISHPETS
56 SIASCONSET DR                     6555 SW 110TH CT
SAGAMORE BEACH MA 02562              BEAVERTON OR 97008




STRESS FREE FUN LLC   FUUTIES        Z- LITE HD
115 HOLLINGWOOD DRIVE                85 SOUTH EDGEWARE ROAD, UNIT #1
COLUMBIA SC 21223                    ST. THOMAS,, ON N5P2H7




SUSTAINABLE RESOURCES GROUP, LLC
                               ZIPKORD LLC
132 VETERANS LANE UNIT A       ZIPKORD 3307 CLARK ROAD
PMB 456                        SUITE 101
DOYLESTOWN PA 18901            SARASOTA FL 34231


SYNCHRONY BANK/AMAZON
PO BOX 71711
PHILADELPHIA PA 19176



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                                         United States Bankruptcy Court
                                              Middle District of Tennessee
 In re   Sherman Arulappan LLC                                                      Case No.
                                                            Debtor(s)               Chapter     7




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Sherman Arulappan LLC in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




June 30, 2023                                  /s/ Steven L. Lefkovitz
Date                                           Steven L. Lefkovitz 5953
                                               Signature of Attorney or Litigant
                                               Counsel for Sherman Arulappan LLC
                                               LEFKOVITZ & LEFKOVITZ
                                               908 HARPETH VALLEY PLACE
                                               NASHVILLE, TN 37221
                                               615-256-8300 Fax:615-255-4516
                                               slefkovitz@lefkovitz.com




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